        Case 1:23-cv-01004-RP         Document 212        Filed 06/18/25     Page 1 of 1




                              UNITED STATES DISTRICT COURT
  PHILIP J. DEVLIN             WESTERN DISTRICT OF TEXAS                          ANNETTE FRENCH
  CLERK OF COURT                 501 West Fifth Street, Suite 1100                 CHIEF DEPUTY
                                      Austin, Texas 78701
                                          June 18, 2025


Kirk John Northup #2376144
Pack-1 Unit
2400 Wallack Pack Rd.
Navasota, TX 77868

Re: CASE #: 1:23-CV-01004-RP

Dear Mr. Northup;

We are in receipt of your correspondence request regarding copies

Copies are 50 cents a page.

We don’t see an Opinion filed on that date (3/26/25). However, there is an ORDER DENYING
Motion for Preliminary Injunction filed on that same date.

The order is 91 pages.

Please mail in a check or money order and make sure to note the case number.



Thank you,

                                                            Sincerely,

                                                            PHILIP J. DEVLIN, Clerk


                                                            By: Deputy Clerk/CC
